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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                  )
                                          )
                                          )     Case No. 1:08CR00024-51
                                          )
v.                                        )                ORDER
                                          )
TRAVIS DELL JONES,                        )     By: James P. Jones
                                          )     Chief United States District Judge
             Defendant.                   )

       For the reasons set forth in the opinion accompanying this order, it is

ORDERED as follows:

       1.    The objections to the magistrate judge’s Report and Recommendation

             are OVERRULED and it is ACCEPTED;

       2.    The Motion to Dismiss is GRANTED in part and DENIED in part; and

       3.    The Indictment against this defendant is DISMISSED without prejudice.



                                              ENTER: September 12, 2008

                                               /S/ JAMES P. JONES
                                              Chief United States District Judge
